              Case 2:14-cv-02490-ROS Document 116 Filed 08/29/16 Page 1 of 6




 1 Robert A. Mandel, SBN 022936
   Taylor C. Young, SBN 020743
 2
   Peter A. Silverman, SBN 020679
 3 MANDEL YOUNG PLC
   2390 East Camelback Road, Suite 318
 4
   Phoenix, Arizona 85016-4400
 5 (602) 374-4591 (phone)
   courtorders@mandelyoung.com
 6
   Attorneys for Plaintiffs
 7
                            IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9 John J. Hurry, et al.,                     Case No. 2:14-cv-02490-PHX-ROS
10                              Plaintiffs,             MOTION FOR LEAVE TO
11   v.                                                 WITHDRAW

12   Financial Industry Regulatory Authority            Assigned to the Honorable Roslyn O. Silver
     Incorporated, et al.,
13
                                Defendants.
14
           Pursuant to LRCiv 83.3(b)(2) and Ariz.R.S.Ct. 42, Rule of Professional Conduct (“ER”)
15
     1.16(a)(1), the law firm of Mandel Young, plc (“MY”) and undersigned counsel (collectively,
16
     “Movants”) hereby move the Court for an order permitting MY and all of its attorney personnel to
17
     withdraw as counsel of record in this action both for all remaining plaintiffs (collectively, the
18
     “Current Plaintiffs”) 1 and for all former plaintiffs that, despite the dismissal of their claims, will
19
     have the right to file a notice of appeal at the appropriate time from any judgments, orders, decrees,
20
     and rulings in this action (collectively, the “Former Plaintiffs”).2
21
22
23   1
            The Current Plaintiffs are: John J. Hurry; Justine Hurry; BRICFM, LLC; FLJH, LLC;
24   Hurry Family Revocable Trust; Investment Services Capital, LLC; Investment Services
     Corporation; Investment Services Holdings Corp.; SCAINTL LLC; SCAP 4, LLC; SCAP 5, LLC;
25   SCAP 6, LLC; SCAP 7, LLC; SCAP 9, LLC; SCAP III, LLC; and Scottsdale Capital Advisors
     Partners, LLC.
26   2
           The Former Plaintiffs are: Investment Services Partners, LLC; SCAP 1, LLC; SCAP II,
27   LLC; SCAP 8, LLC; SCAP 10, LLC; CJ3, LLC; Association of Securities Dealers, LLC;
     NEWCONMGT, LLC; ISC, LLC; ISHC, LLC; NEWMGT, LLC; ASD Holding Company, LLC;
28   and Hurry Foundation.
             Case 2:14-cv-02490-ROS Document 116 Filed 08/29/16 Page 2 of 6




 1        Movants respectfully submit that, under ER 1.16(a)(1), MY and its attorney personnel are
 2 ethically required to terminate their representation of all Current Plaintiffs and Former Plaintiffs
 3 (collectively, “Plaintiffs”) and to withdraw from the action as Plaintiffs’ counsel of record because
 4 continued representation of the Plaintiffs would violate the Rules of Professional Conduct. This
 5 determination has been reached in consultation with attorney Lynda C. Shely, MY’s outside ethics
 6 counsel. Movants are ethically prohibited from disclosing anything further per Movants’
 7 obligations under ER 1.6(a).
 8        The action remains in the discovery stage and has not been set for trial. Plaintiffs have been
 9 notified in writing of the status of the case, including the dates and times of any court hearings,
10 pending compliance with any existing court orders, and the possibility of sanctions. Plaintiffs John
11 and Justine Hurry’s names, last known residence, and last known telephone number are as follows:
12 1466 Pittman Terrace, Glenbrook, NV 89413, (480) 717-5044 (Tel.). The Plaintiff entities’ last
13 known addresses and telephone numbers are as follows:
14    Investment Services Corporation             7170 E. McDonald Drive, Ste. #4
15                                                Scottsdale, AZ 85253
                                                  (480) 717-5044
16
      Hurry Family Revocable Trust                c/o Investment Services Corporation
17                                                7170 E. McDonald Drive, Ste. #4
                                                  Scottsdale, AZ 85253
18                                                (480) 717-5044
19    Scottsdale Capital Advisors Partners,       c/o Investment Services Corporation
      LLC                                         7170 E. McDonald Drive, Ste. #4
20
                                                  Scottsdale, AZ 85253
21                                                (480) 717-5044
      SCAP III, LLC                               c/o Investment Services Corporation
22
                                                  7170 E. McDonald Drive, Ste. #4
23                                                Scottsdale, AZ 85253
                                                  (480) 717-5044
24
      SCAP 4, LLC                                 c/o Investment Services Corporation
25                                                7170 E. McDonald Drive, Ste. #4
                                                  Scottsdale, AZ 85253
26
                                                  (480) 717-5044
27    SCAP 5, LLC                                 c/o Investment Services Corporation
                                                  7170 E. McDonald Drive, Ste. #4
28
                                                  Scottsdale, AZ 85253


                                                     -2-
           Case 2:14-cv-02490-ROS Document 116 Filed 08/29/16 Page 3 of 6




 1                                        (480) 717-5044
 2   SCAP 6, LLC                          c/o Investment Services Corporation
                                          7170 E. McDonald Drive, Ste. #4
 3                                        Scottsdale, AZ 85253
 4                                        (480) 717-5044
     SCAP 7, LLC                          c/o Investment Services Corporation
 5                                        7170 E. McDonald Drive, Ste. #4
 6                                        Scottsdale, AZ 85253
                                          (480) 717-5044
 7   SCAP 9, LLC                          c/o Investment Services Corporation
 8                                        7170 E. McDonald Drive, Ste. #4
                                          Scottsdale, AZ 85253
 9                                        (480) 717-5044
10   BRICFM, LLC                          c/o Investment Services Corporation
                                          7170 E. McDonald Drive, Ste. #4
11                                        Scottsdale, AZ 85253
12                                        (480) 717-5044
     Investment Services Capital, LLC     c/o Investment Services Corporation
13                                        7170 E. McDonald Drive, Ste. #4
14                                        Scottsdale, AZ 85253
                                          (480) 717-5044
15   Investment Services Holdings Corp.   c/o Investment Services Corporation
16                                        7170 E. McDonald Drive, Ste. #4
                                          Scottsdale, AZ 85253
17                                        (480) 717-5044
18   SCAINTL, LLC                         c/o Investment Services Corporation
                                          7170 E. McDonald Drive, Ste. #4
19                                        Scottsdale, AZ 85253
20                                        (480) 717-5044
     FLJH, LLC                            c/o Investment Services Corporation
21                                        7170 E. McDonald Drive, Ste. #4
22                                        Scottsdale, AZ 85253
                                          (480) 717-5044
23   Investment Services Partners, LLC    c/o Investment Services Corporation
24                                        7170 E. McDonald Drive, Ste. #4
                                          Scottsdale, AZ 85253
25                                        (480) 717-5044
26   SCAP I, LLC                          c/o Investment Services Corporation
                                          7170 E. McDonald Drive, Ste. #4
27                                        Scottsdale, AZ 85253
28                                        (480) 717-5044



                                            -3-
           Case 2:14-cv-02490-ROS Document 116 Filed 08/29/16 Page 4 of 6




 1   SCAP II, LLC                             c/o Investment Services Corporation
 2                                            7170 E. McDonald Drive, Ste. #4
                                              Scottsdale, AZ 85253
 3                                            (480) 717-5044
 4   SCAP 8, LLC                              c/o Investment Services Corporation
                                              7170 E. McDonald Drive, Ste. #4
 5                                            Scottsdale, AZ 85253
 6                                            (480) 717-5044
     SCAP 10, LLC                             c/o Investment Services Corporation
 7                                            7170 E. McDonald Drive, Ste. #4
 8                                            Scottsdale, AZ 85253
                                              (480) 717-5044
 9   CJ3, LLC                                 c/o Investment Services Corporation
10                                            7170 E. McDonald Drive, Ste. #4
                                              Scottsdale, AZ 85253
11                                            (480) 717-5044
12   Association of Securities Dealers, LLC   c/o Investment Services Corporation
                                              7170 E. McDonald Drive, Ste. #4
13                                            Scottsdale, AZ 85253
14                                            (480) 717-5044
     NEWCONMGT, LLC                           c/o Investment Services Corporation
15                                            7170 E. McDonald Drive, Ste. #4
16                                            Scottsdale, AZ 85253
                                              (480) 717-5044
17   ISC, LLC                                 c/o Investment Services Corporation
18                                            7170 E. McDonald Drive, Ste. #4
                                              Scottsdale, AZ 85253
19                                            (480) 717-5044
20   ISHC, LLC                                c/o Investment Services Corporation
                                              7170 E. McDonald Drive, Ste. #4
21                                            Scottsdale, AZ 85253
22                                            (480) 717-5044
     NEWMGT, LLC                              c/o Investment Services Corporation
23                                            7170 E. McDonald Drive, Ste. #4
24                                            Scottsdale, AZ 85253
                                              (480) 717-5044
25   ASD Holding Company, LLC                 c/o Investment Services Corporation
26                                            7170 E. McDonald Drive, Ste. #4
                                              Scottsdale, AZ 85253
27                                            (480) 717-5044
28



                                               -4-
             Case 2:14-cv-02490-ROS Document 116 Filed 08/29/16 Page 5 of 6




 1    Hurry Foundation                             c/o Investment Services Corporation
 2                                                 7170 E. McDonald Drive, Ste. #4
                                                   Scottsdale, AZ 85253
 3                                                 (480) 717-5044
 4        For all the foregoing reasons, an order granting MY and all of its attorney personnel leave to

 5   withdraw as counsel of record for all Plaintiffs is necessary and warranted. An LRCiv 83.3(b)(2)-

 6   compliant Certificate of Counsel accompanies this Motion, together with a Proposed Form of

 7   Order for this Court’s consideration.

 8        RESPECTFULLY SUBMITTED this 29th day of August, 2016.

 9                                                  MANDEL YOUNG PLC
10                                             By: /s/ Taylor C. Young
11                                                 Robert A. Mandel
                                                   Taylor C. Young
12                                                 Peter A. Silverman
13                                                 2390 East Camelback Road, Suite 318
                                                   Phoenix, Arizona 85016
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                    -5-
              Case 2:14-cv-02490-ROS Document 116 Filed 08/29/16 Page 6 of 6




 1                                    CERTIFICATE OF SERVICE
 2            The undersigned certifies that the original of the foregoing was transmitted this 29th day of
 3 August, 2016 to the Office of the Clerk of the U.S. District Court using the CM/ECF System, which will
 4 send notification of such filing and transmittal of a Notice of Electronic Filing to all CM/ECF registrants
 5 for this case.
 6                                        George Brandon
                                          Gregory A. Davis
 7                                        Gregory S. Schneider
 8                                        Squire Patton Boggs (US) LLP
                                          One East Washington Street, Suite 2700
 9                                        Phoenix, Arizona 85004
10                                        Attorneys for Defendants
11   /s/ Taylor C. Young
12       Taylor C. Young
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                        -6-
